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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

ALFREDO P. GONZALEZ,

Plaintiff, NO.

COMPLAINT FOR DEFAMATION.

Bad Boy Entertainment, JURY TRIAL DEMANDED
CEO, SEAN P DIDDY’ COMBS, )
Defendant, )

Plaintiff allege against the defendant:

FIRST CAUSE OF ACTION
(DEFAMATION)
JURISDICTION

1. Plaintiff is, and were at all times herein mentioned, domiciled in and citizens of the state of
Colorado. Defendant, Mr. Combs, are and were at all times herein mentioned, domiciled in and
citizens of the state of New York. Defendant, CEO, Mr. Combs/Bad Boy Entertainment, was and
is NOW a corporation duly organized and existing under the laws of the state of New York, with
its offices and principal place of business in the state of New York. This is a civil action involving,
exclusive of interest and costs, a sum in excess of $666,000. Every issue of law and fact in this
action is wholly between citizens of different states.

2. Plaintiff is informed and believe and thereupon allege that Defendant, Mr. Combs is the CEO of
Bad Boy Entertainment and is doing business as an Entertainment company.

3. Plaintiff is informed and believe and thereupon allege that Defendant, Bad Boy Entertainment,
is a corporation duly organized and existing under the laws of the state of New York.

4. Plaintiff is now, and at all times mentioned in this in this complaint have been, resident of Weld
County, Colorado.

5. Plaintiff is informed and believed and thereupon allege that at all times herein mentioned, the

defendant Mr. Combs was the CEO of Bad Boy Entertainment and in doing the things herein
allege, was acting within the scope of said agency.

BACK GROUND

6. On 10/08/2017 Kinglucifer was put under investigation by the Department of Homeland
Security DHS/Central intelligence Agency CIA for his family ties to Joaquin Guzman Loera aka El
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Chapo Guzman/commutation with Ovidio Guzman Lopez/Alfredo Guzman/his relationship with
El Chapos daughter Ally Guzman. On or about 5/5/2021 Plaintiff received a phone call from one
of Mr. Comb’s business partners stating that Mr. Combs was wanting to set up some business
deals with Sinaloa Cartel. Plaintiff is always willing to set up business deals with the rich for
drugs. So the plaintiff asked what was needed from him and this is when Mr. Combs business
partner stated that Mr. Comb’s was looking to make a deal to get some young Girls/Boys for a
party in New York. The plaintiff told the unknown business partner that he would like to speak
to Mr. Comb’s but was told that could not happen. This is when plaintiff told the business
partner we do not sex traffic under age kids. This is when the unknown business partner told
the plaintiff that he has nothing to worry about that Mr. Combs has everything on lock street
slang for no one can fuck with us. The plaintiff told Mr. Combs business partner there is no
money in that. The business partner told the plaintiff this is a big mistake for not taken the
offer from Mr. Combs.The phone call was ended without plaintiff making a deal. All the plaintiff
phone call were recorded because he has been under investigation by the DOJ because of his
business dealings with Ovidio Guzman Lopez the DOJ has the plaintiff under FISA 1978. 50
U.S.C.S. § 1801 et seq and Title Hl of the omnbus crime and safe streets Act, 18 U.S.C.S. § 2510
et seq.,. The plaintiff was contacted by this same business partner asking once again if he could
help get some under age Boy and Girls over the U.S. Border and that the plaintiff could come to
the party and watch the shows they put on. The plaintiff tells the business partner that he is
good and that he wants no part in their sex offender shit and not to contact him that Sinaloa
wants no part in their sex offenders shit, and fuck Bitch ass Bad Boy Entertainment/Daddy’s
House Recordings. This is when Mr. Combs business partner told the plaintiff that he can make
his life hell because of how much power he has in the streets. Plaintiff tells Mr. Combs business
partner do what you do. To date the plaintiff has been monitored by the U.S. Government
under FISA 1978 is a waiting charges for drug trafficking, money laundering, and will be getting
all of these phone call from Mr. Combs business partner in discovery. To date the plaintiff has
made a deal with the Central Intelligence Agency CIA and awaiting to see if the charges go
away in exchange for the stop of fentanyl from being trafficked into the U.S. by Sinaloa Cartel.
Due to Mr. Combs defamation of the plaintiff he has lost all his business contacts in the state of
New York due to the defamation from Bad Boy Entertainment/Mr. Combs. The plaintiff was
told by his business partner that he cannot do business with him tell he helps Bad Boy out. This
has costed the plaintiff a lot of money.

Plaintiff allege against defendant Mr. Combs:

7.

On or about 5/5/2021, in the city of New York, state of New York, defendant, Mr. Combs, made
the following request to the plaintiff: Defendant requested though his business partner to try
to make a business deal with the plaintiff/Sinaloa Cartel to have under age Boys and Girls
trafficked to New York City for a party at Daddy’s House Entertainment/Bad Boy Entertainment
studios.

The plaintiff never made the deal, does not make deals with the sex offenders this was told to
the defendant and his business partners this is when the business partner told the plaintiff they
have power to do whatever they want and they can make shit hard for the plaintiff.

On or about 5/12/2021 the plaintiff was talking to a business partner that conducts business in
the state of New York and was told that he could no longer do business with the plaintiff due to

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not making the business deal with Mr. Combs.

10. Defendants defamation, malicious, oppressive, and in conscious disregard of the plaintiffs
reputation. Plaintiff request punitive damages in the amount $666,000.

WHEREFORE, Plaintiff pray for judgment against defendant as follows:

1. For judgment in the sum of $666,000.
2. For cost of suit.
3. For such other relief as the court deems just.

Dated: April 14, 2024. By ALFREDO P. GONZALEZ #142066
PO BOX 600
Canon City, CO.81215
VERIFICATION
|, ALFREDO P. GONZALEZ, am the plaintiff in the above entitied action. | have read the foregoing
complaint. The facts stated therein are within my knowledge and are true and correct, except those
matters stated on information and belief, and, as to those, | believe them to be true and correct.
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